      Case 5:22-cv-04486-BLF Document 334 Filed 03/20/23 Page 1 of 2



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                                NORTHERN DISTRICT OF CALIFORNIA
15
                                        SAN JOSE DIVISION
16
     MATT JONES; BRYSON DECHAMBEAU;                    Case No. 5:22-CV-04486-BLF (SVK)
17   PETER UIHLEIN; and LIV GOLF, INC.,
                                                       PGA TOUR, INC.’S RESPONSE TO
18                Plaintiffs,                          ORDER TO SHOW CAUSE WHY CASE
                                                       NUMBER 22-MC-80336-BLF SHOULD
19          v.                                         NOT BE TERMINATED AS
                                                       DUPLICATIVE
20   PGA TOUR, INC.,
                                                       Courtroom     3
21                Defendant.                           Judge:        Hon. Beth Labson Freeman

22                                                     Date Filed:   August 3, 2022
     PGA TOUR, INC.,
23                                                     Trial Date:   January 8, 2024
                  Counter-claimant,
24          v.
25   LIV GOLF, INC., THE PUBLIC
     INVESTMENT FUND OF THE KINGDOM
26   OF SAUDI ARABIA, AND YASIR
     OTHMAN AL-RUMAYYAN,
27
                  Counter-defendants.
28

       PGA TOUR, INC.’S RESPONSE TO ORDER TO SHOW CAUSE WHY CASE NUMBER 22 MC-80336-BLF
                            SHOULD NOT BE TERMINATED AS DUPLICATIVE
                                   Case No. 5:22-CV-04486-BLF (SVK)
     2108495.v1
      Case 5:22-cv-04486-BLF Document 334 Filed 03/20/23 Page 2 of 2



 1           The PGA TOUR, Inc. does not object to the Court’s termination of the miscellaneous

 2   action PGA TOUR, Inc. v. Public Investment Fund of the Kingdom of Saudi Arabia, et al., No.

 3   22-mc-80336-BLF.

 4

 5   Dated: March 20, 2023                                KEKER, VAN NEST & PETERS LLP
 6

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       PGA TOUR, INC.’S RESPONSE TO ORDER TO SHOW CAUSE WHY CASE NUMBER 22 MC-80336-BLF
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